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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF MISSOURI

 THE STATE OF MISSOURI, et al.                 )
                                               )
                Plaintiffs,                    )
                                               )
 v.                                            )
                                               )            Case No. 1:21-cv-1300
 JOSEPH R. BIDEN in his official               )
 capacity as President of the United           )
 States, et al.                                )
                                               )
                Defendants.                    )
                                               )

                          DEFENDANTS’ OPPOSITION TO
                    PLAINTIFFS’ MOTION TO EXPEDITE BRIEFING

       Defendants hereby oppose Plaintiffs’ motion to expedite briefing in this case. ECF 10.

Plaintiffs’ proposed, expedited schedule unnecessarily truncates Defendants’ time to respond to

Plaintiffs’ motion for a preliminary injunction. As Plaintiffs themselves note, they raise

“numerous, complex issues” for resolution, in 12 claims. Id. at 4; see also Pls.’ Mot. to Exceed Page

Limitation, ECF No. 7 (“The issues raised in the Plaintiff States’ motion for preliminary

injunction are complex and significant.”). Moreover, the federal government has recently taken

action that may moot or, at minimum, materially alter the scope of, Plaintiffs’ claims while

simultaneously implementing a six-week extension for employees of federal contractors to

receive their COVID-19 vaccines. Therefore, and in light of the federal government’s recent

action, the appropriate next step is for Plaintiffs to review their claims and determine whether

they intend to proceed with this lawsuit. To the extent Plaintiffs still wish to proceed, any claims

they may bring should address the federal government’s updated policy. There is certainly no

reason to rush preliminary injunction briefing on the federal government’s prior policy that has

now been superseded.


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       Plaintiffs’ claims concern the federal government’s requirement that certain federal

contractor employees receive COVID-19 vaccines and adhere to other public safety protocols.

These requirements are intended to slow the spread of COVID-19 and to prevent disruptions in

the provision of government services by federal contractors. Executive Order 14042 directed

federal executive departments and agencies, “to the extent permitted by law,” to include in

qualifying contracts a clause requiring compliance with workplace safety guidance issued by the

Safer Federal Workforce Task Force (Task Force). 86 Fed. Reg. at 50,985; see also id. at

50,986–50,987 (listing the categories of contracts to which the EO applies). The Executive Order

delegates to the Director of the Office of Management and Budget (OMB) the President’s

statutory authority to determine whether the Task Force’s guidance “will promote economy and

efficiency in Federal contracting if adhered to by Government contractors and subcontractors.”

Id. at 50,985-50,986 (citing 3 U.S.C. § 301). On September 24, 2021, the Director of OMB

determined that the Task Force Guidance will promote economy and efficiency in federal

contracting. See 86 Fed. Reg. 53,691–53,692. Plaintiffs’ motion for a preliminary injunction

challenges this determination. See Pls.’ Mot. for Prelim. Inj., ECF Nos. 8, 9.

       Earlier today, OMB submitted a notice for publication in the Federal Register entitled

“Determination of the Acting OMB Director Regarding the Revised Safer Federal Workforce

Task Force Guidance and the Revised Economy & Efficiency Analysis Pursuant to Executive

Order No. 14042.” https://www.federalregister.gov/public-inspection/2021-24949/determination-

regarding-the-revised-safer-federal-workforce-task-force-guidance-for-federal (last accessed

Nov. 10, 2021). OMB’s new determination both incorporates revised Task Force Guidance and

includes additional analysis to elaborate on the substance of the OMB Director’s determination.




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That determination has been accepted for filing by the Federal Register and is now legally

binding.

           The Revised Guidance formally extends the vaccination deadline for covered Federal

contractors and subcontractors from December 8, 2021 to January 18, 2022—aligning that

deadline with the Department of Labor’s Occupational Safety and Health Administration

Emergency Temporary Standard and the Centers for Medicare and Medicaid’s rule. 1 In other

words, to comply with this deadline, a covered employee of a federal contractor would need to

receive a single-shot of the Johnson & Johnson vaccine, or a second shot of the Pfizer or

Moderna vaccines, by January 4, 2022. While Plaintiffs allege in conclusory fashion that “the

holidays” negate the effect of the extension, Pls.’ Mot. to Expedite at 3 n.2, that is plainly

incorrect—nothing bars contractor employees from being vaccinated in late December, or even

choosing to get their one-and-only dose of the Johnson & Johnson vaccine in early January. This

significant extension alone justifies the denial of Plaintiffs’ motion for expedited briefing—to the

extent Plaintiffs’ motion for a preliminary injunction is still even relevant in light of the

substantive changes reflected in the new Determination.

           The revised Determination makes several other changes material to this litigation. For

example, the new Determination explains that, although not subject to the procedural

requirements in 41 U.S.C. § 1707, it nevertheless complies with those requirements. The new

Determination also provides additional economy-and-efficiency analysis underlying the OMB


         While plaintiffs correctly note that “[o]nly changes the Task Force makes, and which
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OMB approves, are legally binding,” see Pls.’ Mot. For Expedited Briefing at 3 n.2, the Revised
Guidance is consistent with the White House’s November 4, 2021 statement indicating that the
deadlines would be revised. The White House, Fact Sheet: Biden Administration Announces
Details of Two Major Vaccination Policies, https://www.whitehouse.gov/briefing-
room/statements-releases/2021/11/04/fact-sheet-biden-administration-announces-details-of-two-
major-vaccination-policies/ (last accessed Nov. 10, 2021).

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Director’s Determination. OMB Director’s new Determination rescinds and supersedes the prior

Determination and may therefore moot or narrow the scope of several claims brought by

Plaintiffs.

        OMB’s transmittal of a new Determination on the Task Force Guidance, the weighty

statutory and constitutional issues at play, and the recent six-week extension of time for covered

contractor employees to be fully vaccinated all counsel in favor of denying Plaintiffs’ motion to

expedite briefing. Instead, Plaintiffs should decide whether and to what extent they wish to

proceed with any revised claims. 2



Dated: November 10, 2021                          Respectfully submitted,

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        Should this Court elect to proceed with preliminary-injunction briefing, Defendants
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agree with the page limits proposed by Plaintiffs.
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